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     ~
                     IN THE CIRCUIT COURT FOR PRINCE GEORGE'S COUNTY, MARYLAND

         MR. ABRAHAM DJAMEN                               :
         4909 EARTHS BOUNTY DR.                           :
         BOWIE, MD 20720                                  :

                  Plaintiff                               :

         vs.                                                          Case No.:

         LOWE'S HOME IMPROVEMENT, LLC
                                                                                                             ~ 72
         16301 HERITAGE BLVD.                                                                                ; , . ~-•.-

         BOWIE, MD 20716                                                                                     C-)!'
         Serve on:
         CSC-LAWYERS INCORPORATING                                                                                 .;
         SERVICE COMPANY                                 :                                             _7'
         7ST. PAUL STREET, SUITE 820                     :                                                   ;"-~~ "
         BALTIMORE MD 21202                              :                                      ~F     ~     FI     '




                                                        COMPLAINT
                              (Negligence, Negligent Hiring/Training/Supervision, Agency)



                                                   I.    INTRODUCTION

               Abraham Djamen, through counsel John T. Everett, and CHASENBOSCOLO, brings this

         cause of action against the Defendant Lowe's Home Improvement, LLC for damages resulting

         from the negligence in maintaining their property, in the negligent hiring, training, and

         supenrision of their employees, and for the negligence of their agents.



                                             II. JURISDICTION AND VENUE

--             1-This-Court's-subject-matter-jurisdiction-over-this-action-is-based_on_Md. Cts& Jud. Proc-__                      -    _
                  Code Ann. Section 1-501.                                         - -   -   - --    - -     - -           - -   - -   -

               2. This Court's personal jurisdiction is based on Md. Cts. & Jud. Proc Code Ann. Section 6-

                  102 and 6-103(b)(3).




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3. This Court's venue is based on Md. Cts. & Jud. Proc. Code Ann. Section 6-202(8) and 6-

   201).



                                         III. PARTIES

4. Piaintiff, Abraham Djamen, an .adult male resident of Bowie in Prince George's County,

   Maryland.

5. Upon information and belief, Defendant Lowe's Home Improvement, LLC (hereinafter

   "Defendant Lowe's") owns and maintains the property where this incident occurred in

   Prince George's County in the State of Maryland.



                                IV. STATEMENT OF FACTS

6. On or about April 29, 2021, Mr. Djamen was at Lowe's Home Improvement, LLC

   (hereinafter "The Premises") located at located at 16301 Heritage Blvd., Bowie,

   Maryland.

7. At the same date and place, at approximately 6:30 pm, Mr. Djamen was wafking through

   the parking - lot to his vehicle when he tripped over a wooden pallet in a parking space

   and fell injuring his right hand and right knee.

8. At that time, Defendant Lowe's owned, operated, managed and maintained the

   Premises.

9. At that time Defendant Lowe's was responsible for the maintenance of the Premises,

   which—included—inspeeting,—maintai

   defects and hazards with the Premisi

10.At that time, Defendant Lowe's was responsible for the hiring, training, and supervision

   of all employees working at the Premises.




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11.At the time of the incident, it was the duty of Defendant Lowe's to regularly inspect the

   Premises for defects that presented risks to patrons, including wooden pallets in

   pedestrian areas.

12.At the time of the incident, it was the duty Defendant Lowe's to prevent, fix, and/or

   remove dangerous conditions on the Premises, including wooden pallets in pedestrian

   areas.

13.At the time of the incident, it was the duty of Defendant Lowe's to warn invitees about

   dangerous conditions on the Premises of which they were aware or had reason to be

   aware.

14.At the time of the incident, it was the duty of Defendant Lowe's to hire employees and/or

   contractors who were qualified to prevent, fix, and/or wam of dangerous conditions on

   the Premises.

15.At the time of the incident, it was the duty of Defendant Lowe's to train their employees

   and/or contractors to prevent, fix, and/or warn of dangerous conditions on the Premises.

16.At the time of the incident, it was the duty of Defendant Lowe's to supervise their

   employees and/or contractors to be sure they prevented, fixed, and/or warned patrons of

   dangerous conditions on the Premises.

17.Defendant Lowe's breached their duty when they chose to leave a wooden patlet in the

   parking lot where patrons and invitees regularly traverse.

18.Defendant Lowe's breached their duty when they chose not to maintain the Premises in

   a-safe-co

19.Defendant Lowe's- b"reached-their—dutywhen=they=chose-not=to-ins

   safety hazards or defects.

20. Defendant Lowe's breached their duty when they chose not to prevent, 1'ix and/or

   remove dangerous conditions on the Premises.




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21. Defendant Lowe's breached their duty when they chose not to warn patrons and invitees

   about dangerous conditions of which Defendant Lowe's knew of or had reason to be

   aware of.

22. Defendant Lowe's breached their duty when they chose not to hire employees and/or

   contractors who were quaiified to prevent, fix, and/or warn of dangerous conditions on

   the Premises.

23. Defendant Lowe's breached their duty when they chose not to train their employees

   and/or contractors to prevent, fix, and/or wam of dangerous conditions on the Premises.

24. Defendant Lowe's breached their duty when they chose not to supervise their

   employees and/or contractors to be sure that they prevent, fix, and/or wam of dangerous

   conditions on the Premises.

25.As a.direct and proximate result of the conduct of Defendant Lowe's, Mr. Djamen

   sustained severe, permanent, and uncompensated harms and losses. These harms and

   losses include past, present, and future physical symptoms, including immobility and a

   diminished capacity to perform his activities of daily living and enjoy his daily life. These

   harms and losses caused Mr. Djamen to expend great sums of money for hospitals,

   physicians, and related care and treatment. Plaintiff endures and continues to struggle

   with mental and emotional harms and losses, including isolation, frustration, anxiety,

   fright, shock,- and anguish.

26. Mr. Djamen neither contributed to the violation of the premises safety rules which

   caused-this-inj



                                         COUNTI
                                       (Negligence)

27. Plaintiff, Abraham Djamen, incorporates the allegations of paragraphs one through

   twenty-six above and, in addition, avers that Defendant Lowe's choice to not maintain its




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       premises was not reasonably careful and constitutes negligence which harmed Plaintiff

       justifying an allowance of money damages against it.




                                            COUNT II.
                            (Negligent Hiring, Training, Supervision)

   28. Plaintiff, Abraham Djamen, incorporates the allegations of paragraphs one through

       twenty-seven above and, in addition, avers that Defendant Lowe's violated the safety

       rules for hiring, training and supervising employees who maintaPn its premises and

       constitutes a failure to be reasonably careful justifying an allowance of money damages

       against it.




                                            COUNT III
                                            (Agency)

   29. Plaintiff, Abraham Djamen, incorporates the allegations of paragraphs one through

       twenty-eight above and, in addition, avers that Defendant Lowe's is vicariously liable or

       its agents' choices, justifying an award of damages against it.




                                     PRAYER FOR RELIEF
       WHEREFORE, Plaintiff prays for a judgment in his favor against Defendant Lowe's and

that damages be allowed in an amount to exceed SEVENTY-FIVE THOUSAND ($75,000), plus



and further relief as this Court deems proper.



                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues presented.




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                           Respectfully submitted,

                           CHASEN80SC"'"

                     By:   ~
                           J6lin T. Everett
                           AIS# 10121402,
                           jeverett@chase
                           7852 Walker Dr
                           Greenbelt, Mary
                           (301) 220-0050
                           (301) 474 1230




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